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g UNITED STATES DISTRICT COURT

9 SOUTHERN DISTRICT OF CALIFORNIA

io|| UNITED STATES OF AMERICA, Criminal No. 21-cr-00388-JLS

 

)
)
it Plaintiff, ) CONSENT TO RULE 11 PLEA
} IN A FELONY CASE BEFORE
12||v. } UNITED STATES MAGISTRATE
) JUDGE
13 | Paola Garcia-Martinez
14 Defendant. )
)
15
16 I have been advised by my attorney and by the

7 United States Magistrate Judge of my right to enter my
1g] plea in this case before a United States District

19] Judge. I hereby declare my intention to enter a plea
20) of Guilty in the above case, and I request and consent
21] to have my plea taken by a United States Magistrate

92|| Judge pursuant to Rule 11 of the Federal Rules of

23) Criminal Procedure.

24 I understand that if my plea of guilty is taken by
451 the United States Magistrate Judge, and the Magistrate
26|| Judge recommends that the plea be accepted, the

27| assigned United States District Judge will then decide

agli whether to accept or reject any plea agreement I may

 

 
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have with the United States and will adjudicate guilt
and impose sentence.

I further understand that any objections to the
Magistrate Judge’s findings and recommendation must be

filed within 14 days of the entry of my guilty plea.

 

Dated: 67/ Z0/ 2 02

 

Dated: 140] 2 sie
Attorney for Defendant

The United States Attorney consents to have the
plea in this case taken by a United States Magistrate

Judge pursuant to Criminal Local Rule 11.1.

Dated: T {fo _—

ed States

 

 
